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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                                  )
 IN RE: AQUEOUS FILM-FORMING                      )    MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY                         )
 LITIGATION                                       )    ORDER
                                                  )
                                                  )    This Order Relates to:
                                                  )    All Cases
                                                  )

         Before the Court is Plaintiffs’ motion to seal. (Dkt. No. 2403.)

         Plaintiffs seek to seal certain exhibits to their reply on their motion to compel (Dkt. No.

2402) and to redact portions of the memorandum that reference the exhibits.               Defendants

designated the exhibits as Highly Confidential pursuant to the parties’ protective order. (Dkt. No.

1523.)

         Plaintiffs’ motion to seal complies with the protocol set forth in Case Management Order

No. 17 and provides the notice and opportunity required by the governing law and applicable Local

Rule. The Court has reviewed in camera the exhibits and memorandum. Having weighed the

public right of access against competing interests, the Court finds that partial redaction is warranted

here. Redaction is furthermore the least drastic method of protecting the information in light of its

substance and formatting.

         Plaintiffs’ motion to seal (Dkt. No. 2403) is GRANTED. Plaintiffs are directed to file on

the docket, under seal, an unredacted version of their motion with accompanying exhibits.

         AND IT IS SO ORDERED.

                                               s/ Richard Mark Gergel
                                               Richard Mark Gergel
                                               United States District Judge
June 15, 2022
Charleston, South Carolina
